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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

                                                   :
Shakeji Rosser,                                    :
                                                     Civil Action No.: 4:13-cv-00282
                                                   :
                       Plaintiff,                  :
       v.                                          :
                                                   :
Commercial Recovery Systems, Inc.,                 :
                                                     COMPLAINT
                                                   :
                       Defendant.                  :
                                                   :
                                                   :

               For this Complaint, the Plaintiff, Shakeji Rosser, by undersigned counsel, states

as follows:

                                         JURISDICTION

       1.      This action arises out of the Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant and its agents in their illegal efforts to collect a

consumer debt.

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendant transact business in this District and a substantial portion of the acts giving rise to this

action occurred in this District.

                                             PARTIES

       4.      The Plaintiff, Shakeji Rosser (“Plaintiff”), is an adult individual residing in

Arlington, Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      Defendant Commercial Recovery Systems, Inc. (“Commercial”), is a Texas

business entity with an address of 8035 RL Thornton freeway, Suite 220, Dallas, Texas 75228,
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operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.     The Debt

       6.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       8.      The Debt was purchased, assigned or transferred to Commercial for collection, or

Commercial was employed by the Creditor to collect the Debt.

       9.      The Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B.     Commercial Engages in Harassment and Abusive Tactics

       10.     Within the last year, the Defendant contacted the Plaintiff in an attempt to collect

the Debt.

       11.     During Defendant’s initial communication with Plaintiff, Defendant failed to

disclose they were debt collectors.

       12.     Instead, Defendant misrepresented their company as a law office.

       13.     Furthermore, Defendant left Plaintiff a voicemail which threatened immediate

lawsuit.

       14.     On or about February 21, 2013, Defendant had a subsequent communication with

Plaintiff wherein Defendant falsely accused Plaintiff of writing a “hot check” for $20.00 and that

Defendant would be turning her over to the City of Arlington police department.
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       15.     Defendant’s threats caused Plaintiff a great amount of fear and anxiety.

       16.     Defendant failed to send Plaintiff any written correspondence informing Plaintiff

of her rights under Federal law.

C.     Plaintiff Suffered Actual Damages

       17.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendant’s unlawful conduct.

       18.     As a direct consequence of the Defendant’s acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

       19.     The Defendant’s conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

                                            COUNT I

                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       20.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       21.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       22.     The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive, or misleading representation or means in connection with the collection of a debt.

       23.     The Defendant’s conduct violated 15 U.S.C. § 1692e(3) in that Defendant misled

the Plaintiff into believing the communication was from a law firm.



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        24.     The Defendant’s conduct violated 15 U.S.C. § 1692e(5) in that Defendant

threatened to take legal action, without actually intending to do so.

        25.     The Defendant’s conduct violated 15 U.S.C. § 1692e(7) in that Defendant falsely

misrepresented that the Plaintiff had committed a crime, in order to disgrace the Plaintiff.

        26.     The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

employed false and deceptive means to collect a debt.

        27.     The Defendant’s conduct violated 15 U.S.C. § 1692g(a) in that Defendant failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        28.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        29.     The Plaintiff is entitled to damages as a result of Defendant’s violations.

                                              COUNT II

                 VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                         TEX. FIN. CODE ANN. § 392, et al.

        30.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        31.     The Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

        32.     The Defendant is a “debt collector” and a “third party debt collector” as defined

by Tex. Fin. Code Ann. § 392.001(6) and (7).

        33.     The Defendant falsely accused or threatened to falsely accuse the Plaintiff of

fraud or a crime, in violation of Tex. Fin. Code Ann. § 392.301(a)(2).




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       34.     The Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex.

Fin. Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code

§ 17.62 pursuant to Tex. Fin. Code Ann. § 392.404(a).

                                            COUNT III

                                    COMMON LAW FRAUD

       35.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       36.     The acts, practices and conduct engaged in by the Defendant and complained of

herein constitute fraud under the Common Law of the State of Texas.

       37.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

foregoing acts and practices, including damages associated with, among other things,

humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the

Defendant. All acts of the Defendant and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness, and as such, the Defendant are subject to

punitive damages.

                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant:

                    1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant;

                    2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                       against the Defendant;

                    3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against the Defendant;

                    4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

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                  5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                  6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                       Code Ann. § 392.404(a);

                  7. Actual damages from the Defendant for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                  8. Punitive damages; and

                  9. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: April 8, 2013

                                               Respectfully submitted,

                                               By /s/ Jody B. Burton

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